Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 1 of 8




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-80131-CIV-DIMITROULEAS/SNOW

   GERHARD EMIL MAALE, III,

                  Plaintiff,

   v.

   KIM FRANCIS KIRCHGESSNER, et al.,

               Defendants.
   __________________________________/

                 ORDER OVERRULING OBJECTIONS; APPROVING
           MAGISTRATE JUDGE SNOW’S REPORT AND RECOMMENDATION;
            GRANTING SANCTIONS UNDER INHERENT POWER OF COURT

          THIS CAUSE is before the Court upon Defendants’, Patricia Rahl, Brian Rahl, Rahl &

   Rahl, P.A. and Kim Kirchgessner, Objection to the Magistrate Judge’s Supplemental Report and

   Recommendation [DE-625], and the Objection of Edwards Angell Palmer & Dodge LLP to

   Magistrate Judge’s Supplemental Report and Recommendation that the Court Exercise Its

   Inherent Power to Impose Sanctions on Edwards Angell Palmer & Dodge LLP [DE-627], filed

   herein on March 11, 2011 and March 18, 2011, respectively (collectively referred to as

   “Objections”). The Court has carefully considered the Objections, Magistrate Judge Lurana S.

   Snow’s Supplemental Report and Recommendation (“Supplemental Report”) [DE-615], the

   record herein, and is otherwise fully advised in the premises.

                                          I. BACKGROUND

          On September 13, 2010, Defendant Kim Kirchgessner (“Kirchgessner”), as well as

   Defendants Patricia Rahl, Brian Rahl and Rahl & Rahl. P.A. (collectively the “Rahl

   Defendants”), filed a Verified Motion for Attorney’s Fees and Costs [DE-571], arguing four
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 2 of 8




   bases for recovery: (1) as the prevailing parties in a case which included a claim under the

   Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.2105; (2) as the

   prevailing parties in a case arising from a Forward Purchase Agreement which is governed by

   English law including the English rule that the losing party always pays the legal fees of the

   prevailing party; (3) entitlement to fees pursuant to 28 U.S.C. § 1927; and (4) entitlement to fees

   pursuant to the inherent power of the Court. The motion was referred to Magistrate Judge

   Lurana S. Snow for appropriate disposition or report and recommendation. [DE-572].

          On December 17, 2010 [DE-590], Magistrate Judge Snow issued a separate Report and

   Recommendation, recommending that the Court grant in part and deny in part Defendants’

   motions for Rule 11 sanctions. Thereafter, on February 18, 2011 [DE-611], Magistrate Judge

   Snow issued a second Report and Recommendation, wherein she concluded that “[i]n the

   interests of judicial economy, the Court should consider [the issue of the inherent power of the

   Court to sanction] solely in relation to the Rule 11 motion rather than readdressing them here.”

   Id. at pg. 36. As such, Magistrate Judge Snow recommended that the Court “deny the motion to

   sanction the plaintiff and his counsel based on the inherent power of the Court.” Id.

          On February 24, 2011 [DE-614], this Court approved in part Magistrate Judge Snow’s

   Report and Recommendation [DE-590] as to the imposition of Rule 11 sanctions, granting

   sanctions as to Plaintiff, but sustaining Edwards Angell Palmer & Dodge LLP and Gary A.

   Woodfield’s (collectively “EAPD”) objections. The Court concluded that sanctions against

   EAPD under Rule 11 were not appropriate on a largely technical basis since EAPD had already

   withdrawn from the case prior to opposing counsel moving for sanctions. [DE-614, pg. 8].

   Nonetheless, the Court referred the “issue of sanctions under the Court’s inherent power as to


                                                    2
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 3 of 8




   EAPD to Judge Snow since Judge Snow declined to fully consider this issue in the interest of

   judicial economy based upon the issues raised in the Rule 11 motions and the instant Report.”

   Id. at pg. 8-9].

           Consequently, the instant Supplemental Report solely addresses the issue of sanctions as

   to EAPD under the Court’s inherent power.1 In the instant Supplemental Report, Magistrate

   Judge Snow recommends that the Court “grant the motion for sanctions, based on the inherent

   power of the Court, in the total amount of $137,120.00 against Gary Woodfield and his former

   law firm Edwards Angell Palmer and Dodge jointly and severally.” [DE-615, pg. 17].

                                           II. DISCUSSION

   A.      Standard of Review

           A party seeking to challenge the findings in a report and recommendation of a United

   States Magistrate Judge must file “written objections which shall specifically identify the

   portions of the proposed findings and recommendation to which objection is made and the

   specific basis for objection.” Macort v. Prem, Inc., 208 F. App’x 781, 783 (11th Cir. 2006)

   (quoting Heath v. Jones, 863 F.2d 815, 822 (11th Cir. 1989)). “It is critical that the objection be

   sufficiently specific and not a general objection to the report.” Macort, 208 F. App’x at 784

   (citing Goney v. Clark, 749 F.2d 5, 7 (3d Cir. 1984)). If a party makes a timely and specific

   objection to a finding of fact in the report and recommendation, the district court must conduct a

   de novo review of the portions of the report to which objection is made. Macort, 208 F. App’x at

   783-84; see also 28 U.S.C. § 636(b)(1). The district court may accept, reject, or modify in whole


           1
             As of the date of this Order, the parties’ objections to the February 18, 2011 Report and
   Recommendation [DE-611] are not yet fully briefed as Plaintiff was granted leave to file a
   limited sur-reply by April 15, 2011.

                                                    3
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 4 of 8




   or in part, the findings or recommendations made by the Magistrate Judge. Macort, 208 F.

   App’x at 784; 28 U.S.C. § 636(b)(1). Accordingly, the Court has undertaken a de novo review of

   the record and all filed Objections to the Report. The Court will address EAPD’s Objection first.

   B.     EAPD’s Objection

          EAPD objects to the Supplemental Report on the following grounds: (1) the motion

   asking the Court to impose sanctions based on its inherent power was filed too late; (2) sanctions

   are not warranted because EAPD did not act in egregious bad faith;2 and (3) the fee awards are

   excessive.

          The Court rejects EAPD’s arguments. In regard to the first argument, regardless of

   whether the issue of sanctions under the inherent authority of the Court was raised sua sponte by

   the Court or upon motion by a party, the Court finds that it need not reach the issue of timeliness

   since it was not raised before Magistrate Judge Snow. The Eleventh Circuit made clear that a

   “district court has discretion to decline to consider a party’s argument when that argument was

   not first presented to the magistrate judge.” Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir.

   2009). Here, for the first time EAPD raised the timeliness argument in its Objection, after

   Magistrate Judge Snow and the parties had already incurred significant time and expense

   litigating the issue of sanctions under the Court’s inherent authority. To allow EAPD to inject a



          2
              EAPD also indicates that the Supplemental Report “does not exemplify either restraint
   or discretion,” and appears to contend that the Supplemental Report may have been “motivated
   by vindictiveness or retribution.” [DE-627, pg. 5-6]. The Court rejects this unsupported attack.
   On the contrary, after extensive briefing and submissions from the parties and careful
   examination of the facts and arguments, Magistrate Judge Snow issued several detailed and
   exhaustive reports and recommendations in this action. EAPD has pointed to no specific facts
   that would support this argument and, therefore, the Court will not credit this argument by giving
   it any further discussion.

                                                    4
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 5 of 8




   new argument at this stage in the litigation, when there is no demonstrable reason that this

   argument was not raised before Magistrate Judge Snow, would undermine the very purpose of

   the magistrate judge system. As such, the Court declines to exercise its discretion to consider

   this argument that should have, and could have, been previously raised.

          Next, in regard to EAPD’s second argument, EAPD takes issue with Magistrate Judge

   Snow’s findings of specific instances of bad faith. The Court finds each of EAPD’s contentions

   to be without merit.3 In effect, EAPD argues that its conduct was not egregious enough to

   warrant the imposition of sanctions. The Court disagrees. This action was hotly contested and

   vigorously litigated for over two years. As such, there was more than sufficient time for EAPD

   to develop and carefully review the factual record in this action and the related divorce

   proceedings, and remove those allegations, claims, and arguments that were not supported by the

   record. Nonetheless, EAPD repeatedly asserted allegations and put forth facts that were shown

   to be baseless. For instance, EAPD repeatedly included requests for sums and attached checks

   which were clearly unrelated to the claimed investment in the project; EAPD repeatedly asserted

   arguments that were contradicted by factual evidence in the case, specifically in regard to Caicos




          3
             At the outset, the Court notes that EAPD takes issue with the fact that Magistrate Judge
   Snow did not consider two declarations submitted in support of objections to a separate report
   and recommendation. [DE-598-1, 612-1 (both submitted in support of the objections to DE-
   590)]. However, EAPD has cited to no authority requiring the Court to consider documents that
   were clearly filed in connection with separate motions. Regardless, even when considering the
   declarations, the Court is not persuaded that the declarations warrant an overruling of Magistrate
   Judge Snow’s finding of bad faith. Moreover, while Magistrate Judge Snow may have declined
   to consider the two declarations, there is no indication in the Supplemental Report that would
   support EAPD’s argument that Magistrate Judge Snow also did not consider the oppositions to
   the motions for rule 11 sanctions. [DE-627, pg. 11].

                                                    5
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 6 of 8




   Beach Club Charter, Ltd.4; EAPD repeatedly failed to consider the effect of the Decree of

   Divorce on Plaintiff’s claim for damages (despite that EAPD represented Plaintiff in the Florida

   component of the divorce proceedings); EAPD unnecessarily multiplied the litigation by seeking

   leave to add defendants late in the action that were soon after dismissed for lack of any specific

   factual allegations supporting the new claims; and EAPD unnecessarily multiplied the litigation

   by attempting to circumvent a state court protective order which was ultimately affirmed. Based

   upon this record, the Court agrees with Magistrate Judge Snow that such conduct went well-

   beyond mere negligence by EAPD in the prosecution of this action, but instead evidenced bad

   faith on the part of EAPD that warrants the imposition of sanctions.

          Finally, the Court rejects EAPD’s argument regarding the awarded fees being excessive.

   First, EAPD did not raise the issue of the hourly rates requested before Magistrate Judge Snow

   and, therefore, the Court need not even consider this argument. Williams, 557 F.3d at 1292 (a

   “district court has discretion to decline to consider a party’s argument when that argument was

   not first presented to the magistrate judge.”). Nonetheless, EAPD cites to no authority for the

   proposition that it was error for Magistrate Judge Snow to use the customary rather than the

   discounted rates for Defendants’ attorneys and, accordingly, the Court will not sustain this

   objection. In addition, as discussed below, the Court finds that Magistrate Judge Snow properly


          4
            EAPD argues that Magistrate Judge Snow erroneously attributes assertions to EAPD
   that were not made. Specifically, EAPD argues that it never asserted that Plaintiff was not
   informed that Caicos Beach Club Charter, Ltd. was defunct until January 2010. EAPD appears
   to be contending that because the documents at issue [DE-217, 225, 235] do not contain this
   verbatim statement, that the documents somehow do not support Magistrate Judge Snow’s
   finding. However, EAPD’s argument would require the Court to ignore the context of the
   documents which clearly give the impression that such information was not uncovered until the
   January 2010 depositions. As such, the Court finds this argument to be without merit.
   Magistrate Judge Snow’s finding in this regard is properly supported by the record.

                                                    6
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 7 of 8




   awarded fees resulting from the bad faith conduct. In fact, Magistrate Judge Snow noted that

   there were additional instances of bad faith related to the divorce proceedings, but was unable to

   apportion those fees and, therefore, additional fees were not awarded. As such, the Court finds

   the awarded fees to be reasonable.

   C.     Defendants’ Objection

          Defendants object to the Supplemental Report as to the amount of attorney’s fees

   awarded. Defendants argue that they are entitled to their entire reasonable attorney’s fees

   incurred in this case and that the Court is not limited to awarding fees directly related to EAPD’s

   specific instances of sanctionable conduct. While Defendants may be correct that a court can

   award all of a party’s fees under the court’s inherent authority, the Court is not persuaded that an

   award of all the fees incurred is warranted based upon this record. Instead, the Court agrees with

   Magistrate Judge Snow and finds that the award of fees in this instance should be related solely

   those fees incurred as a result of conduct found to clearly support a finding of bad faith.

                                          III. CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED as follows:

          1.      Magistrate Judge Snow’s Supplemental Report and Recommendation [DE-615] is

                  hereby APPROVED;

          2.      Defendants’, Patricia Rahl, Brian Rahl, Rahl & Rahl, P.A. and Kim Kirchgessner,

                  Objection to the Magistrate Judge’s Supplemental Report and Recommendation

                  [DE-625] is hereby OVERRULED;

          3.      The Objection of Edwards Angell Palmer & Dodge LLP to Magistrate Judge’s

                  Supplemental Report and Recommendation that the Court Exercise Its Inherent


                                                     7
Case 9:08-cv-80131-WPD Document 642 Entered on FLSD Docket 04/15/2011 Page 8 of 8




                 Power to Impose Sanctions on Edwards Angell Palmer & Dodge LLP [DE-627] is

                 hereby OVERRULED.

          4.     The Court awards Defendants sanctions in the amount of $137,120.00 against

                 Gary Woodfield and his former law firm Edwards Angell Palmer and Dodge LLP,

                 jointly and severally, based upon the inherent power of the Court.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

   14th day of April, 2011.




   Copies furnished to:
   Magistrate Judge Snow
   Counsel of record




                                                  8
